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                  11     Christopher Philip Ahn
                  12
                                              UNITED STATES DISTRICT COURT
                  13
                               CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
                  14
                  15
                         UNITED STATES,                           CASE NO. 2:19-CV-5397 FLA (JPR)
                  16
                                         Plaintiff,               NOTICE OF FILING OF
                  17                                              PETITION FOR WRIT OF
                                v.                                HABEAS CORPUS BY PERSON
                  18                                              IN FEDERAL CUSTODY UNDER
                         CHRISTOPHER PHILIP AHN,                  28 U.S.C. § 2241
                  19
                                         Respondent.
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MANATT, PHELPS &
 PHILLIPS, LLP
  ATTORNEYS AT LAW


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    LOS ANGELES
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                     1         PLEASE TAKE NOTICE that on June 23, 2022, Relator Christopher Philip
                     2   Ahn filed a Petition for Writ of Habeas Corpus by Person in Federal Custody under
                     3   28 U.S.C. § 2241 (“Petition”) with the United States District Court of the Central
                     4   District of California in Case No. 2:22-CV-04320.
                     5         The Petition seeks habeas review of the May 22, 2022, Order entitled
                     6   “Reluctant Certification of Extraditability.” (Dkt. 233.) A copy of said Order is
                     7   attached hereto.
                     8
                     9   DATED: June 23, 2022                Naeun Rim
                                                             MANATT, PHELPS & PHILLIPS, LLP
                  10
                                                             By:         /s/ Naeun Rim
                  11
                                                                               Naeun Rim
                  12                                               Attorneys for Petitioner
                  13                                               Christopher Philip Ahn

                  14
                         DATED: June 23, 2022                Ekwan E. Rhow
                  15                                         Christopher J. Lee
                  16                                         Bird, Marella, Boxer, Wolpert, Nessim,
                                                             Drooks, Lincenberg & Rhow, P.C.
                  17
                  18                                         By:         /s/ Christopher J. Lee
                                                                               Christopher J. Lee
                  19                                               Attorneys for Petitioner
                  20                                               Christopher Philip Ahn
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MANATT, PHELPS &
 PHILLIPS, LLP
  ATTORNEYS AT LAW                                                  2
    LOS ANGELES
                                        NOTICE OF FILING OF PETITION FOR WRIT OF HABEAS CORPUS
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                ATTACHMENT




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 8                       UNITED STATES DISTRICT COURT
 9                      CENTRAL DISTRICT OF CALIFORNIA
10
11   IN THE MATTER OF THE            ) Case No. CV 19-5397-FLA (JPR)
     EXTRADITION OF                  )
                                     )
12   CHRISTOPHER PHILIP AHN,         ) RELUCTANT CERTIFICATION OF
                                     ) EXTRADITABILITY
13                                   )
                                     )
14   A Fugitive from the             )
     Government of the Kingdom       )
15   of Spain.                       )
                                     )
16                                   )
                                     )
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18
          In April 2019, the U.S. Attorney’s Office for the Central
19
     District of California, acting on behalf of the Kingdom of Spain,
20
     filed a Complaint requesting the extradition of Christopher
21
     Philip Ahn, a middle-aged U.S. citizen and Marine Corps veteran
22
     with no criminal record.     Ahn is among a small group of men, all
23
     or some of them part of an organization called Free Joseon,1
24
25        1
            According to Wikipedia, Joseon was “the last dynastic
26   kingdom of Korea” and ended in October 1897, when it was replaced
     by the Korean Empire. Joseon, Wikipedia (last modified Apr. 27,
27   2022, 2:21 p.m.), https://en.wikipedia.org/wiki/Joseon.      Free
     Joseon, “a covert anti-North Korean activist group,” has declared
28   itself to be the “true representative government of the people of

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 1   accused of a host of crimes arising from their entry into the
 2   North Korean embassy in Madrid, Spain, on February 22, 2019.           In
 3   part because of his participation in the embassy incident, North
 4   Korea wants to kill Ahn.     I must decide whether to certify his
 5   extradition to Spain, where North Korea can much more easily
 6   murder him.    Although I conclude that the law requires me to
 7   certify, I do not think it’s the right result, and I hope that a
 8   higher court will either tell me I’m wrong or itself block the
 9   extradition.
10                                     * * *
11        After Ahn was arrested, the United States filed a formal
12   request for extradition, supported by documentation from Spain,

13   and then a revised such request.        In the three years since the

14   case was filed the parties have submitted various memoranda and

15   evidence relating to the extradition, which the Court has

16   carefully read, in most instances many times.        On May 25, 2021,

17   the Court conducted an extradition hearing, at which Ahn appeared

18   with counsel.   The Court heard sworn testimony from Tufts

19   Professor Sung-Yoon Lee and an unsworn statement from Cynthia

20   Warmbier2 as well as argument from both parties.

21
22   North Korea” and is “known to support North Korean defectors.”
     Free Joseon, Wikipedia (last modified Mar. 5, 2022, 9:30 a.m.),
23   https://en.wikipedia.org/wiki/Free_Joseon.
24        2
            Warmbier is the mother of Otto Warmbier, a University of
     Virginia college student who was tortured and murdered by the North
25
     Korean regime in 2016 and 2017 for “allegedly taking down a poster
26   with a political slogan supporting North Korea’s dictator, Kim
     Jong-Il, from a hotel’s staff-only area.” Warmbier v. Democratic
27   People’s Republic of Korea, 356 F. Supp. 3d 30, 38 (D.D.C. 2018).
     The government did not object to her oral statement’s admission.
28   (May 25, 2021 Hr’g Tr. at 154, ECF No. 231 (throughout, the Court

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 1        Ahn does not dispute that he and others, including Adrian
 2   Hong Chang, a former TED fellow and longtime activist against
 3   North Korea’s ruling Kim family, entered the embassy that day in
 4   February 2019.    As discussed in greater depth below, Ahn claims
 5   the group was asked by unidentified residents there to help them
 6   defect; indeed, Hong and Ahn had previously been involved in
 7   similar efforts.    The United States seems to suggest that the
 8   group might instead have intended to terrorize the embassy
 9   residents and steal information; no one disputes that when the
10   group finally left, after about four and a half hours, they took
11   with them computer drives, a cell phone, and other electronic
12   information — which they promptly turned over to the FBI.          Spain

13   has diplomatic relations with North Korea.        The United States, on

14   the other hand, has declared North Korea a state sponsor of

15   terrorism, and with very few exceptions, bars North Koreans from

16   entering the country.

17        Ahn has raised several challenges to his extradition.           He

18   argues that probable cause is lacking, in part because much of

19   the evidence the government relies on — namely, the statements of

20   the North Koreans who were inside the embassy that day — is not

21   “competent.”3    He also challenges the existence of “dual

22
23   uses   the   pagination   generated    by   its   official   Case
     Management/Electronic Case Filing system).)     It did, however,
24   object to a written statement from both of Warmbier’s parents.
25   (See Ahn’s Suppl. Ex. E, ECF No. 200-2; Resp. at 3, ECF No. 214.)
     Because the Court has not relied on that statement, it need not
26   rule on the government’s objection.
          3
27          The government, too, disputes some of the evidence, arguing
     that the Court may not consider various declarations, reports, and
28   letters filed by Ahn. The Court gets to that below.

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 1   criminality,” a requirement in extradition law that the
 2   “essential character” “of the acts criminalized by the laws of
 3   each country are the same and the laws are ‘substantially
 4   analogous.’”    Manta v. Chertoff, 518 F.3d 1134, 1141 (9th Cir.
 5   2008) (quoting Oen Yin–Choy v. Robinson, 858 F.2d 1400, 1404 (9th
 6   Cir. 1988)).    Finally, he argues that even if the Court finds
 7   probable cause to extradite on all or some of the charges, it
 8   should decline to do so under a “humanitarian exception” to
 9   extradition.
10        Spain seeks Ahn’s extradition on six counts: breaking and
11   entering, making threats, causing injury, illegal restraint,
12   criminal organization, and robbery with violence or intimidation.

13   At the hearing the Court denied the request for extradition on

14   robbery with violence or intimidation because the United States

15   had offered no definition or explanation for the requirement that

16   the robbery have been “for profit,” nor any evidence that the

17   group took anything from the embassy for financial gain, the

18   commonsense understanding of the phrase.4       (May 25, 2021 Hr’g Tr.

19   at 97-99.)5    The Court also rejected Ahn’s dual-criminality

20   argument because any required intent, which he argued the

21   government had no evidence of, may be inferred from action, see

22   Manta, 518 F.3d at 1142-43 (rejecting dual-criminality argument

23   for that reason), and the government’s evidence — including, as

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          4
25         The North Korean witnesses consistently told the police that
     they didn’t think “the motive for the attack” was robbery.
26   (Revised Req., Ex. C at 19, 25, ECF No. 226-3.)
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27          All future citations to “Tr.” at a particular page are to
     the transcript of the extradition hearing, which was held on May
28   25, 2021, and is available on the docket at ECF number 231.

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 1   explained below, a civilian witness’s testimony of one of the
 2   embassy entrants wielding a gun over a man on the ground —
 3   provided probable cause of any necessary specific intent.          (Tr.
 4   at 65.)    And any affirmative defense based on lack of intent,
 5   including that Ahn believed he was acting at the behest of or in
 6   coordination with the U.S. government (see ECF No. 175 at 32-33),
 7   may not be considered by the extradition court.         See, e.g.,
 8   Santos v. Thomas, 830 F.3d 987, 993 (9th Cir. 2016) (en banc); In
 9   re Extradition of Fordham, 281 F. Supp. 3d 789, 799 (D. Alaska
10   2017) (“It is settled that the dual criminality requirement does
11   not encompass possible ‘affirmative defenses[.]’”).         So, what
12   remained to be decided after the hearing was whether probable

13   cause existed to extradite Ahn on the other five charges and, if

14   so, whether the Court should nonetheless refuse to certify

15   extradition on humanitarian grounds.       The Court must also resolve

16   various evidentiary issues.

17                               EXTRADITION LAW

18        The purpose of an extradition hearing is to determine

19   “whether there is ‘evidence sufficient to sustain the charge

20   under the provisions of the proper treaty or convention,’ or, in

21   other words, whether there is probable cause.”         Vo v. Benov, 447

22   F.3d 1235, 1237 (9th Cir. 2006) (as amended) (quoting 18 U.S.C.

23   § 1384).   Probable cause, in turn, means “such information as

24   would justify the committal for trial of the person if the

25   offense had been committed in the requested State.”6         (Revised

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27          Of course, in one sense the crimes with which Ahn is charged
     could never have been committed in the United States because it has
28   no North Korean embassy nor any diplomatic relations at all with

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 1   Req., Ex. A, Annex to Extradition Treaty, art. X, § D, ECF No.
 2   226-1); see Quinn v. Robinson, 783 F.2d 776, 782 (9th Cir. 1986).
 3   Probable cause means a “fair probability” that the suspect has
 4   committed the charged crime, Garcia v. Cnty. of Merced, 639 F.3d
 5   1206, 1209 (9th Cir. 2011), and the burden of proving its
 6   existence rests with the United States, see Barapind v. Enomoto,
 7   400 F.3d 744, 747 (9th Cir. 2005) (en banc) (per curiam).          The
 8   probable-cause evidence should be “viewed through the lens of
 9   common sense.”   Florida v. Harris, 568 U.S. 237, 248 (2013).          If
10   the magistrate judge finds probable cause, she “is required to
11   certify the individual as extraditable to the Secretary of
12   State.”   Vo, 447 F.3d at 1237 (citation omitted); see also

13   Prasoprat v. Benov, 421 F.3d 1009, 1012, 1016-17 & n.5 (9th Cir.

14   2005) (noting that magistrate judge has “no discretionary

15   decision to make” and finding that humanitarian exception may not

16   be invoked by magistrate judge (citation omitted)).

17        The federal rules of evidence and procedure do not apply in

18   extradition proceedings, see Mainero v. Gregg, 164 F.3d 1199,

19   1206 (9th Cir. 1999), and therefore hearsay is permitted, Manta,

20   518 F.3d at 1147.    The person whose extradition is sought may

21   present evidence that “explains” the government’s evidence but

22   not evidence that “merely ‘contradict[s] the testimony for the

23   prosecution.’”   Santos, 830 F.3d at 992 (quoting Collins v.

24
25
     that country. This argument depends on the level of generality at
26   which “the offense” is defined. Because Ahn has not raised this
     argument — and given that the specific charges in Spain’s request
27   for extradition are framed broadly, without tying the crimes to the
     specific location where they allegedly took place — the Court
28   considers those charges capable of being committed here.

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 1   Loisel, 259 U.S. 309, 316-17 (1922)).           Whether to admit evidence
 2   offered by the fugitive is within the “sound discretion” of the
 3   Court.       Hooker v. Klein, 573 F.2d 1360, 1369 (9th Cir. 1978).
 4           As many courts have observed, “[t]he difference between
 5   ‘explanatory’ and ‘contradictory’ is easier stated than applied.”
 6   Santos, 830 F.3d at 992; see also Gill v. Imundi, 747 F. Supp.
 7   1028, 1040 (S.D.N.Y. 1990) (describing distinction between
 8   “explanatory” and “contradictory” evidence as “somewhat murky”).
 9   In practice, the Ninth Circuit has found that explanatory
10   evidence “explains away or completely obliterates probable cause,
11   whereas contradictory evidence . . . merely controverts the
12   existence of probable cause, or raises a defense.”              Santos, 830

13   F.3d at 992 (cleaned up).        Put another way, contradictory

14   evidence is that which would require the Court to make

15   credibility assessments.       See id. at 993.

16                             EVIDENTIARY CHALLENGES

17           1.     Christopher Ahn’s Declaration and Medical

18                  Records

19           Before the hearing, Ahn sought to introduce his own

20   declaration explaining the events of February 22.              (See ECF No.

21   178.)    Although the declaration is under seal, published reports

22   cited by one or both parties have noted Ahn’s claim that he

23   entered the embassy with the others because they had received

24   word that one or more of its residents wanted help defecting.                 In

25   open court, his counsel described the declaration as relaying

26   Ahn’s “subjective understanding . . . that this was something

27   that had been requested by . . . people in the embassy, that they

28   had asked this group, Free Joseon, to stage a kidnapping so that

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 1   their family members would not face reprisal back in North Korea”
 2   (Tr. at 67) based on their defection (id. at 68, 76).               (See also
 3   ECF No. 226-3 at 83 (Spanish prosecutorial report noting that
 4   before February 22 “Hong Chang had made contact with an
 5   unidentified individual at the Embassy who was open to
 6   ‘defecting.’”).)     Ahn argues that the evidence in his declaration
 7   is “explanatory” because it “explain[s] ambiguities or doubtful
 8   elements” in the government’s case and “obliterate[s] probable
 9   cause,” relying on the Santos standard.           According to him, “there
10   is no coherent explanation” for why the group entered the embassy
11   other than Ahn’s (Tr. at 75); “the narrative put forth by the
12   U.S. government makes no sense” (id. at 73).            The government

13   objected to the declaration’s admission, arguing that it simply

14   contradicted the evidence showing probable cause.

15        In one sense, of course, the declaration does “explain” the

16   government’s evidence.       In it, Ahn explains, yes, why he and the

17   others entered the embassy and offers context necessarily missing

18   from the government’s version of events given that he was inside

19   the embassy and none of the North Koreans who were there can

20   offer competent evidence, as explained below.             But Ahn’s

21   statements “explain” the government’s evidence only to the extent

22   they are true.     And assessing that would require a prohibited

23   credibility determination.        See Santos, 830 F.3d at 993

24   (forbidding extradition challenges to “credibility of the

25   government’s offer of proof”); Barapind, 400 F.3d at 749-50

26   (noting that credibility of witness’s statement could not be

27   assessed without trial, which was beyond scope of extradition

28   proceeding); In re Extradition of Luna-Ruiz, No. CV 13-5059 VAP

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 1   (AJW)., 2014 WL 1089134, at *14 (C.D. Cal. Mar. 19, 2014)
 2   (excluding relator’s declarations because “[r]esolving the
 3   conflict between the competing versions” of events “would entail
 4   weighing conflicting evidence, assessing the relative credibility
 5   of witnesses, and resolving factual disputes, functions that are
 6   beyond the scope of an extradition proceeding”).             But see Quinn,
 7   783 F.2d at 815 (noting in context of evaluating government’s
 8   proof of identification that “credibility of witnesses and the
 9   weight to be accorded their testimony is solely within the
10   province of the extradition magistrate”).            Indeed, Ahn’s account
11   is akin simply to a defense he would offer at any trial, after
12   the government had presented its evidence.            He concedes that the

13   Spanish witnesses outside the embassy “reported seeing events

14   consistent with what a . . . kidnapping would look like to a

15   third party observer.”       (Opp’n at 18, ECF No. 175.)         Whether that

16   kidnapping was “staged,” as Ahn claims, would be for a trier of

17   fact to decide, based at least in part on the credibility of the

18   witnesses.7    Such evidence is contradictory.          See Santos, 830

19   F.3d at 993.    And contrary to Ahn’s refrain that no competent

20   evidence contradicts his declaration, North Korean witness Cho

21   Sun Hi’s admitted statement at least to some degree suggests that

22   the group’s actions were real, not staged, as discussed further

23
          7
            As discussed below, because the North Korean witnesses
24   likely wouldn’t participate in any Spanish trial, there would
     presumably be no one to contest Ahn’s version of why the group
25
     entered the embassy. But that fact more appropriately goes to why
26   a humanitarian exception should apply, not whether probable cause
     exists based on the evidence now before the Court. See Quinn, 783
27   F.2d at 815 (noting that it is not extradition court’s “role to
     determine whether there is sufficient evidence to convict the
28   accused”).

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 1   below.
 2         Indeed, the government’s version of events isn’t entirely
 3   implausible.    After all, a group with the avowed purpose of
 4   overthrowing the Kim regime might well want to steal records and
 5   other information from it, or humiliate it by posting images
 6   online of the group’s members desecrating photographs of the Kim
 7   family, as apparently happened during the embassy incident.           (See
 8   ECF No. 200-1 at 17; Ahn’s Suppl. Ex. A at 8-9, ECF No. 197-1.)
 9   And some things that transpired give credence to the government’s
10   story line: embassy resident Cho8 would presumably not have
11   jumped off an elevated landing to escape, seriously injuring
12   herself, had she been expecting Ahn’s group to help her defect or

13   if she had otherwise not believed a hostile invasion was taking

14   place.    (See ECF No. 226-3 at 7-8.)      And if at least some of the

15   embassy residents were in on the “kidnapping,” why didn’t one of

16   them come to the door when the police arrived and send them away

17   instead of Hong Chang having to impersonate an embassy staffer?

18   (See id. at 8.)     The government’s narrative is not so crazy or

19   unsupported as to be untenable.       The Court therefore does not

20   consider Ahn’s declaration in deciding this case because it

21   simply “contradicts” the government’s evidence.

22         Similarly, Ahn sought to have admitted into evidence medical

23   records showing that one of his hands was healing from a recent

24   fracture at the time of the embassy incident.         (Tr. at 125; Ahn’s

25   Suppl. Ex. G, ECF No. 225.)      He therefore could not have hit any

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27          Although this witness is referred to by different names
     throughout the record, Prof. Lee testified that she should be
28   referred to as “Ms. Cho” (Tr. at 44), so the Court uses that name.

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 1   of the embassy residents or taken other actions alleged by the
 2   government, the argument goes.       (See Tr. at 125-26.)       The
 3   government objected, arguing that the evidence was contradictory,
 4   not explanatory.     Regardless, it is of little weight because Ahn
 5   could have acted with his other hand even had the fractured hand
 6   been completely immobilized, which it was not.         Moreover, the
 7   evidence of Ahn hitting anyone was found not to be competent, as
 8   explained below.     The Court therefore does not consider the
 9   medical records in making its probable-cause determination.
10         2.   North Korean Witness Statements
11         Ahn argues that under Santos, the statements of the North
12   Korean witnesses on the events at the embassy are not “competent”

13   because they were procured by coercion and therefore may not be

14   considered in the probable-cause calculus.         At the hearing the

15   Court agreed, with one limited exception.         Here’s why.

16         The function of an extradition magistrate judge “is to

17   determine whether there is competent evidence to justify holding

18   the accused to await trail.”       Collins, 259 U.S. at 316.       “[A]

19   coerced statement is not competent evidence and cannot support

20   probable cause.”     Santos, 830 F.3d at 1001.      “[T]he manner in

21   which evidence used to support probable cause was obtained” is

22   important in determining its competency.        Id. at 1007.      Evidence

23   concerning the competence of other evidence is explanatory, not

24   contradictory.    See id. at 1008.

25         For this reason, and because Prof. Lee was present and

26   available to be cross-examined, the Court overruled the

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 1   government’s objections9 and admitted his testimony on the
 2   competence of the North Korean witnesses’ statements; it also
 3   admitted a letter he wrote that was filed on May 18, 2021.10
 4   (See ECF No. 197-1.)
 5         Prof. Lee is “deeply knowledgeable” on the subject of North
 6   Korea.     Warmbier v. Democratic People’s Republic of Korea, 356 F.
 7   Supp. 3d 30, 36 (D.D.C. 2018).       He is a Professor of Korean
 8   Studies at the Fletcher School of Law and Diplomacy at Tufts
 9   University.    (See ECF No. 197-1 at 2.)      He has testified as an
10   expert on North Korea in congressional hearings and briefed then-
11
12         9
            One such objection was that unlike in Santos, the witnesses
13   here did not later recant their original statements. (See Gov’t’s
     Reply Br. at 24, ECF No. 187.) But that fact works against the
14   government. As Santos recognized, when witnesses recant, the line
     between explanatory and contradictory evidence becomes blurry. See
15   830 F.3d at 990 (“We hold that evidence of coercion is explanatory,
     and may be considered by the extradition court, even if the
16   evidence includes a recantation.” (emphasis added)).        Because
17   there’s little contradictory here about the evidence of coercion —
     rather, it simply explains why the witnesses said what they did —
18   its admissibility is even more clear than in Santos.

19        The government also objected that it was improper for the
     Court to consider evidence of coercion from an expert witness
20   because such testimony “cannot be used to establish facts.” (ECF
21   No. 187 at 24.) But the cases it cites to support that principle
     almost exclusively predate Santos, which expressly carved out an
22   exception for evidence demonstrating coercion or torture. (See id.
     at 24-25 (citing pre-2016 cases and one from 2020 that did not
23   involve coercion or torture and is not even an extradition
     matter).)    Indeed, under Santos, the Court may consider any
24   “[r]eliable evidence that the government’s evidence was obtained by
25   . . . coercion.”    830 F.3d at 1003.    And in any event, as the
     government well knows, the rules of evidence and procedure do not
26   apply in extradition proceedings. See id. at 992.
           10
27          As will be discussed later in this decision, the Court also
     admitted testimony from Prof. Lee concerning the humanitarian
28   exception.

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 1   President Barack Obama and Senator Bob Corker on the subject, the
 2   latter when he was chair of the Senate Foreign Relations
 3   Committee.    (See id.; Tr. at 40.)       The government did not
 4   seriously question Prof. Lee’s credentials but rather suggested
 5   that he was biased because he had some earlier interactions with
 6   Hong Chang, apparently the leader of Free Joseon and of the
 7   Spanish embassy incident.      (See ECF No. 226-3 at 3.)      Prof. Lee
 8   testified that he had invited Hong to speak at Tufts in 2013 and
 9   after that had seen him on six additional occasions.          (Tr. at 51,
10   55.)   He acknowledged admiring Hong Chang.        (Id. at 52.)
11          Prof. Lee testified about the reliability of statements made
12   by North Korean officials in general as well as those made after

13   the incident in this case.      He did not offer any evidence on the

14   propriety of the embassy incident or any other topic directly

15   concerning Hong Chang.      That he admires someone who has devoted

16   his adult life to fighting a totalitarian regime is hardly cause

17   for concern; it’s to be expected.         (See id. at 74.)   Morever, Ahn

18   offered evidence nearly identical to Prof. Lee’s from Robert

19   Collins, a widely recognized expert on North Korea.          See

20   Warmbier, 356 F. Supp. 3d at 48; (ECF No. 175-3 at 4-15).

21   Although the Court did not admit that evidence because Collins

22   was not available to be cross-examined, it mirrors Prof. Lee’s

23   and serves to corroborate it.       Accordingly, the Court, in its

24   “sound discretion,” found Prof. Lee’s testimony and letter

25   reliable and has considered them in deciding this case.            (See Tr.

26   at 60-62.)

27          Prof. Lee testified that North Korean government witnesses’

28   statements are “inherently unreliable.”        (ECF 197-1 at 11.)

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 1   North Koreans abroad are “captives of the state whose loved ones
 2   and associates back home are held hostage against their actions
 3   abroad.”   (Id.)    The witnesses here can be expected to have
 4   “[c]onspire[d] together and tell the Spanish authorities
 5   falsehoods and tales of exaggerated coercion and victimization
 6   out of fear of retribution.”       (Id.)   If they were thought to have
 7   tried to defect, they would “face the certainty of banishment to
 8   a gulag with their entire family and even execution.”           (Id.)
 9   Further suggesting that the witnesses’ statements were coerced
10   was the role of the North Korean Acting Ambassador, Yun Sok So,
11   who was present in the embassy the day of the incident, “as the
12   sole interpreter in the statements to the police on the embassy

13   incident made by all other North Korean nationals — each one of

14   them his subordinate.”      (Id. at 14.)

15          Prof. Lee testified that the situation for those North

16   Koreans who hold government posts, and particularly those in

17   foreign countries, is even more dire than for average citizens.

18   As an example, he noted that when a North Korean university

19   professor defected to South Korea in 1997, “5,000 of his friends,

20   relatives, distant relatives, [and] colleagues” were “all killed”

21   in North Korea.     (Tr. at 58.)    There is a “vast and extreme

22   punishment that befalls . . . any traitor in North Korea’s eyes,

23   any defector.”     (Id.)   As a result, the North Koreans at the

24   embassy would have had a “compelling need to keep their story

25   together” for fear that officials back home might think the

26   intruders were there to help one or more of them defect.           (Id. at

27   53.)   And anyone who attempts to defect from North Korea “must be

28   punished by death.”     (Id. at 43); see also 22 U.S.C. § 7801(5)

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 1   (finding that “North Korean Penal Code is [d]raconian,
 2   stipulating capital punishment and confiscation of assets for a
 3   wide variety of ‘crimes against the revolution,’ including
 4   defection, attempted defection, [and] slander of the policies of
 5   the Party or State” (first alteration in original)).          With Acting
 6   Ambassador So — the only North Korean present during the raid who
 7   had diplomatic immunity and “who is superior to every single
 8   North Korean involved” — acting as the translator for all the
 9   witnesses’ statements, the other North Koreans would be under
10   “enormous pressure . . . to keep to his version of the story.”11
11   (Tr. at 53-54.)
12         Prof. Lee’s testimony is not the only evidence here of

13   coercion.    Our own Congress has found that “the government of

14   North Korea attempts to control all information” and “strictly

15   curtails freedom of speech.”       § 7801; see also U.S. State Dep’t

16   Bureau of Democracy, Human Rights, and Labor, 2020 Country

17   Reports on Human Rights Practices: Democratic People’s Republic

18   of Korea, § 1.E (Mar. 30, 2021), https://www.state.gov/reports/

19   2020-country-reports-on-human-rights-practices/north-korea

20   (noting “reports of bribery and corruption” in North Korea’s

21   “investigations or preliminary examination process”); U.N. Human

22   Rights Council, Rep. of the Comm’n of Inquiry on Human Rights in

23   the Democratic People’s Republic of Korea, ¶ 26, U.N. Doc.

24   A/HRC/25/63 (Feb. 7, 2014) (Ex. C to ECF No. 175-3) (describing

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           11
26          Not only did So act as the translator for all of the North
     Koreans’ official statements, he also was the one who primarily
27   spoke to the police when the residents first emerged from the
     embassy, after Ahn and the rest had left. (See Gov’t’s Redacted
28   Ex. at 26, ECF No. 118-1 (Spanish police officer’s statement).)

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 1   as one of North Korea’s “most striking features” “its claim to an
 2   absolute monopoly over information”).        And the very lack of an
 3   extradition treaty between the United States and North Korea
 4   signals that we do not trust “evidence” from that country.           See
 5   Ahmad v. Wigen, 726 F. Supp. 389, 411 (E.D.N.Y. 1989) (“Congress
 6   and the executive branch do not enter into extradition treaties
 7   with countries in whose criminal justice system they lack
 8   confidence.”), aff’d, 910 F.2d 1063 (2d Cir. 1990); Han Kim v.
 9   Democratic People’s Republic of Korea, 774 F.3d 1044, 1048 (D.C.
10   Cir. 2014) (noting that North Korea is “known to intimidate
11   defectors and potential witnesses”).
12         It can hardly be doubted, then, that the statements the

13   North Korean witnesses gave to the Spanish police and judiciary,

14   all translated by So, were coerced.        The government’s arguments

15   to the contrary are easily batted away.        It objects that other

16   evidence corroborates some witnesses’ statements.          But the rule

17   of Santos is not aimed at “exclud[ing] presumptively false

18   evidence but . . . prevent[ing] fundamental unfairness in the use

19   of evidence whether true or false.”        830 F.3d at 1003 (emphasis

20   in original).    It contends that the Court is impermissibly making

21   a credibility call rather than a competence finding, and is

22   unlawfully doing so based on nationality.         Nonsense.   Again, the

23   Court has not considered at all whether the North Korean

24   witnesses’ statements were true or false; it looked only at

25   whether they were forced to make them.        Prof. Lee’s testimony and

26   our own congressional and State Department findings show that

27   they were.    And the Court has hardly written off all possible

28   statements coming from any North Korean.        As an initial matter,

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 1   these are North Korean government officials far from home, sent
 2   abroad with the knowledge that almost any false step might result
 3   in harm, even death, to their family and friends.          That’s a far
 4   cry from the average citizen on the street in North Korea.
 5           Moreover, as the Court explained at the hearing, it found
 6   one statement by a North Korean not coerced, although it was a
 7   close call.    Not enough evidence demonstrated that the initial
 8   statements of witness Cho, who jumped from an elevated terrace at
 9   the embassy and made what the Court found to be the equivalent of
10   excited utterances to the police — translated by Google Translate
11   and not Acting Ambassador So — were coerced.12         (Tr. at 171.)
12   That finding shows that the Court did not simply write off all

13   North Koreans’ statements wholesale because of where they were

14   born.

15
16           12
            Some of Cho’s initial statements were fantastical — South
17   Koreans had entered the embassy and were “killing people” and
     “eating” them (ECF No. 118-1 at 19) — and Prof. Lee convincingly
18   testified that her “decades of inculcation and indoctrination would
     have triggered her to say such things.” (Tr. at 44.) Indeed,
19   “this is common North Korean verbiage that appears in North Korean
     textbooks.”   (Id.); see also 2014 U.N. Rep. ¶ 27 (“The State
20   operates an all-encompassing indoctrination machine that takes root
     from childhood[.]”). He also noted that her hesitance to give the
21
     police certain identifying information was likely a “desperate
22   desire to try to limit what she tells authorities probably out of
     concerns that what she says may be weighed against her back home
23   where I presume she has loved ones and associates who are held
     hostage against every word, every action that North Koreans
24   stationed abroad take.” (Id. at 56.) In light of her agitation
     when she made the statements (see ECF No. 118-1 at 65 (Spanish
25
     bystander who first helped her testifying that she was “in a high
26   state of anxiety and panic”)) and given that neither So nor any
     other North Koreans were present, the Court found that her
27   statements were not so coerced as to be inadmissible.      (Tr. at
     171.) Thus, it considers them for the limited evidentiary value
28   they have.

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 1         Finally, the government argues that there was nothing
 2   unusual about Acting Ambassador So serving as a translator for
 3   the other residents of the embassy, saying that it happens all
 4   the time with other countries’ diplomats.         (See, e.g., ECF No.
 5   187-1 at 4 (Spain explaining that So was used as translator for
 6   “practical reasons”).)      But some examples the government gave of
 7   such practices concerned “meetings” and other diplomatic
 8   business, not criminal investigations and court proceedings.
 9   (Tr. at 49-50.)     In any event, even if having the highest-ranking
10   member of a diplomatic mission act as a translator in a criminal
11   proceeding were not unheard of, it would not excuse its happening
12   here because So was deeply self-interested.         Even assuming he
13   didn’t enlist Free Joseon’s help to defect — which of course in

14   North Korea would be punishable by death — and accepting his

15   testimony about what happened, he was in charge when a group of

16   armed men took over the embassy, beat up the residents, and got

17   away with computers and other information-laden devices.           Surely

18   he must have feared significant reprisal simply by virtue of his

19   having allowed the raid to happen on his watch.          As Prof. Lee

20   testified, he would have made sure the other North Koreans’

21   statements matched his, whether by coercing them to say what he

22   wanted or simply translating them as he liked.

23         Because they were almost certainly coerced, the Court has

24   not considered the North Koreans’ statements to the Spanish

25   police and judiciary (except for Cho’s initial statement) because

26   that evidence is not competent.

27         3.   Other Evidence

28         At the hearing the Court admitted Ahn’s proffered evidence

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 1   of the 2014 U.N. Report of the Commission of Inquiry on Human
 2   Rights in the Democratic People’s Republic of Korea and his
 3   attorney’s declaration.      (Tr. at 63.)    Although it did not admit
 4   for purposes of the probable-cause determination the letters of
 5   support his friends and family members had submitted at the time
 6   of his bail hearings (id. at 63-64), they are part of the record
 7   and the Court has considered them in the section below on the
 8   humanitarian exception.
 9                                PROBABLE CAUSE
10         So the question becomes whether the government’s other
11   evidence amounts to probable cause supporting the remaining five
12   charges.    Probable cause is “not a high bar.”       Kaley v. United

13   States, 571 U.S. 320, 338 (2014).         It serves “only a gateway

14   function.”    Id. at 339.    The Court must consider the probable-

15   cause evidence “through the lens of common sense.”          Harris, 568

16   U.S. at 248.    As long as the government’s competent evidence

17   supports a scenario in which Ahn committed the charged crimes,

18   probable cause exists.      For four of the five remaining charges,

19   it does.    Indeed, Ahn essentially admits as much.        (See ECF No.

20   175 at 32-33 (acknowledging that group’s actions constituted

21   “facially criminal conduct”).)

22         Ahn contends that under Spanish law he is not responsible

23   for any misconduct committed by those who entered the embassy

24   with him.    (See id. at 33-34.)     But Spain says otherwise (see ECF

25   No. 187-1 at 4 (Spanish Magistrate Judge’s statement of Spanish

26   law on criminal responsibility); ECF No. 187 at 47), and this

27   Court is not in a position to ignore that.         See Grin v. Shine,

28   187 U.S. 181, 190 (1902) (“It can hardly be expected of us that

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 1   we should become conversant with the criminal laws of” requesting
 2   countries).    And Ahn’s argument, which is not supported by any
 3   reference to Spanish law, seems to be contradicted by Article 27
 4   of the Spanish Penal Code, which provides that “[t]hose
 5   criminally responsible for crimes . . . are the principals and
 6   their accessories.”     (ECF No. 226-3 at 91.)
 7         The competent evidence supporting extradition here is
 8   enough:
 9         Although Ahn did not arrive in Spain until the morning of
10   the embassy incident (see id. at 3), his compatriots prepared for
11   the operation by buying balaclavas, knives, imitation pistols,
12   handcuffs, flashlights, electrical tape, and a ladder the day

13   before, as shown by store receipts and video-camera surveillance

14   (see id. at 51-56).     And Ahn does not contest that he went to and

15   entered the embassy with the others, as surveillance footage

16   seems to show.13

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           13
18            Ahn has never challenged the authenticity of the
     surveillance footage from the embassy even though it was not handed
19   over to the Spanish police right away and could have been tampered
     with for the same reasons the North Korean witnesses’ statements
20   were coerced — to support the would-be defectors’ cover story. As
     Prof. Lee pointed out, about an hour and a half passed between when
21
     the “so-called infiltrators” left the embassy and when Acting
22   Ambassador So allowed Spanish police to enter, “ample time to
     coordinate and to lay out . . . damaging evidence.” (Tr. at 54;
23   see also ECF No. 118-1 at 52 (Spanish police officer testifying
     that they were not allowed into the embassy until “[m]uch, much
24   later,” for a “short search”); ECF No. 197-1 at 11-14 (Prof. Lee
     noting many contradictions in North Koreans’ statements concerning
25
     injuries and handcuffing).)      Moreover, some of the footage,
26   particularly that taken after dark, is grainy and difficult to make
     out. Even without the footage, though, probable cause exists that
27   Ahn committed the crimes with which he is charged (except robbery
     with violence and intimidation and criminal organization, which the
28   Court has rejected for unrelated reasons). Accordingly, the Court

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 1          Two civilians who were waiting for a bus outside the embassy
 2   when Ahn and the others entered heard “screams” from inside the
 3   compound (ECF No. 118-1 at 77, 80-81, 101), and one of them
 4   testified that when she peeked through a hole in the compound’s
 5   wall she saw someone on the ground with three people on top (id.
 6   at 80-81), one of them holding a pistol (id. at 81).14          The other
 7   witness saw people on top “grabbing the person who was on the
 8   ground.”    (Id. at 102.)
 9          Spanish police and a bystander testified that Cho, the woman
10   who jumped from the embassy’s terrace to escape the intruders,
11   was very scared and appeared to be seriously injured.           (See ECF
12   No. 226-3 at 7-8, 17, 39-41; ECF No. 118-1 at 9, 18-19, 48, 65-

13   66.)    She told responding police, through Google Translate, that

14   “individuals had entered the Embassy and they were killing

15   people, were eating people and there were children there,” and

16   she “continued insisting that we had to go in, that something

17   very serious was happening in the Embassy.”         (ECF No. 118-1 at

18   19-20; see also id. at 27, 48.)       Spanish police also testified

19   that after they went to the embassy to investigate, Hong answered

20   the door and pretended to be North Korean, telling the officers

21   nothing was wrong and that if they had heard noises inside it was

22
23   generally, although not entirely, avoids relying on the security
     footage. See Cornejo-Barreto v. Siefert, 218 F.3d 1004, 1008 (9th
24   Cir. 2000) (“To isolate any possible taint . . . on the evidence
25   supporting the probable cause determination, the judge considered
     the   sufficiency  of   the   evidence   without   the   challenged
26   confessions.”), labeled “advisory” by 379 F.3d 1075, 1086 (9th Cir.
     2004).
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            14
            A “student” who was with this witness apparently thought the
28   people were just “practi[c]ing.” (ECF No. 118-1 at 81.)

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 1   because “he couldn’t open a door” and had had to “give it a kick”
 2   (id. at 21; see also id. at 49) — suggesting, of course, that the
 3   true North Koreans were either involuntarily incapacitated or
 4   could not be trusted to say that they were fine because they in
 5   fact were not in on the caper, and that when they heard the
 6   police at the door they had made noise to try to attract
 7   attention.
 8          Officers stationed outside the embassy saw Ahn and his group
 9   leave in embassy cars “quite fast” and “at great speed,” one of
10   those cars with its lights off.       (Id. at 50-51; see also id. at
11   24.)    They took with them pen drives, computers, hard drives, and
12   a mobile telephone belonging to the North Koreans.15         (ECF No.

13   226-3 at 3, 9.)

14          After police were allowed to enter the compound, they found

15   scattered about various accoutrements of criminal activity,

16   including restraints, handcuffs, knives, and replica guns, items

17   consistent with those Ahn’s cohorts had bought before the

18   incident.    (See id. at 9.)

19          Finally, it is not lost on the Court that the embassy

20   incident took place mere days before President Trump was to meet

21   with Kim Jong-Un for a second summit.        See, e.g., Ankit Panda,

22   Second Trump-Kim Summit to Take Place February 27-28 in Vietnam,

23   The Diplomat (Feb. 6, 2019), https://thediplomat.com/2019/02/

24
            15
             Ahn argues that if all the group had wanted was to steal
25
     information, they wouldn’t have stayed “five hours.” (Tr. at 83.)
26   (It was actually four and a half.) But remember: things did not go
     as planned. Once the police showed up about an hour in, the “so-
27   called infiltrators,” as Prof. Lee described them (id. at 54),
     would have had to rethink their mission, their escape, and their
28   story.

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 1   second-trump-kim-summit-to-take-place-february-27-28-in-vietnam.
 2   It’s not a stretch to think that Free Joseon, a group intent on
 3   undermining Kim’s rule, might have wanted to create bad publicity
 4   for North Korea before the summit by whatever means it could,
 5   regardless of whether any embassy resident wanted to defect.
 6         This evidence satisfies the government’s burden of showing
 7   probable cause to believe that the group who entered the embassy
 8   that day committed crimes there.          Except as to the criminal-
 9   organization allegation, none of Ahn’s arguments as to specific
10   charges undermine that evidence, as explained below.
11         1.    Breaking and Entering
12         Relying on his own declaration, Ahn argues that no breaking

13   and entering occurred for reasons the Court does not explicitly

14   recount here because the declaration is under seal.          But the

15   Court has ruled that declaration inadmissible “contradictory”

16   evidence.    Moreover, although the remaining evidence is open to

17   interpretation, it amounts to probable cause of breaking and

18   entering.    At least one of the government’s photo stills might

19   depict one of the members of the group holding his foot in the

20   door to keep it open after Hong Chang, masquerading as someone

21   else, was allowed in.     (See Gov’t’s Suppl. Ex. at 3, 5, ECF No.

22   202-1.)    Just after the group’s entry the two civilian witnesses

23   saw people being restrained on the ground, one of the intruders

24   displaying a gun.     (ECF No. 118-1 at 81.)      Finally, that Hong,

25   not one of the embassy’s occupants, came to the door to talk to

26   the police while masquerading as a North Korean diplomat suggests

27   that the real North Koreans were restrained or unwilling to tell

28   the police that everything was okay because Ahn and the group had

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 1   in fact entered without permission or under false pretenses.
 2         2.   Illegal Restraint
 3         Ahn’s arguments concerning this charge again rest mostly on
 4   his declaration, which the Court has declined to admit.           Several
 5   uncontested facts show probable cause to believe that the group
 6   restrained the North Koreans: they (although not Ahn himself)
 7   bought restraints the day before they entered the embassy; when
 8   the police came to the door, Hong, posing as a North Korean,
 9   answered, suggesting that the real North Koreans were all
10   restrained or unwilling to play along; and when the North Koreans
11   finally emerged from the building after the group had fled, some
12   were wearing restraints.      It will be for the trier of fact to

13   decide whether to believe Ahn’s explanation for how and why they

14   came to be restrained.

15         3.   Causing Injuries

16         Ahn acknowledges that medical records show serious injuries

17   to Cho from when she jumped off the terrace to escape the

18   strangers in the embassy and some “basic injury” “with no

19   aesthetic damage” to Acting Ambassador So.         (ECF No. 175 at 37.)

20   He argues that he could not have foreseen the former’s injuries

21   and that the minimal harm caused to So means this charge would

22   carry a penalty of only up to three months, “falling far short of

23   the Treaty’s requirement that extraditable offenses be punishable

24   ‘by deprivation of liberty for a period of more than a year.’”

25   (Id.)

26         But the government has the better argument here.          As it

27   points out (see ECF No. 187 at 40), under the treaty, extradition

28   is appropriate on any crime carrying a penalty of less than a

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 1   year as long as one of the other extraditable offenses is
 2   punishable by more than a year (see ECF No. 226-1 at 10).           The
 3   other offenses on which the Court orders Ahn extradited all carry
 4   a potential punishment of more than a year, and the minimum for
 5   illegal restraint is four years.          (See ECF No. 226-3 at 87-88.)
 6   Thus, even were the Court to consider So’s only marginal
 7   “injuries,” extradition would be appropriate on the causing-
 8   injury charge.    But the government wins on Cho’s much more
 9   serious injuries, too, as surely those who entered the embassy
10   could have expected that anyone present who was not “in” on any
11   staged kidnapping might have reacted as she did in an attempt to
12   escape.     See United States v. Rodriguez, 766 F.3d 970, 983 (9th

13   Cir. 2014) (“In many situations giving rise to criminal

14   liability, the death or injury is not directly caused by the acts

15   of the defendant but rather intervening forces or events, such as

16   . . . escape attempts[.]” (citation omitted)); (see also ECF No.

17   226-3 at 87 (crime of causing injuries occurs when someone, “via

18   any means or procedure, cause[s] another individual an injury”)).

19          4.    Threats

20          Ahn claims that the evidence of threats “is derived entirely

21   from the testimony of North Korean witnesses.”         (ECF No. 175 at

22   36.)   In fact, at least one civilian witness saw one of the

23   embassy entrants wielding a gun at the occupants, and another saw

24   a person being held down on the ground.         This, along with the

25   receipts showing that Hong and the others purchased replica guns

26   and other tools of a forced break-in, is enough to show probable

27   cause that they “threaten[ed] others with causing them . . .

28   detriment entailing homicide, injuries, . . . offenses against

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 1   liberty, [or] torture.”      (ECF No. 226-3 at 88); cf., e.g., United
 2   States v. Grajeda, 581 F.3d 1186, 1191 (9th Cir. 2009) (noting
 3   that using deadly weapon to “threaten” great bodily injury
 4   constitutes crime of violence).
 5          5.   Criminal Organization
 6          A “criminal organization” is “a group formed of more than
 7   two people that is stable in nature and operates for an
 8   indefinite period, which, in an arranged and coordinated manner,
 9   assigns various tasks or functions with the aim of committing
10   crimes.”    (ECF No. 226-3 at 90.)
11          Ahn contests that Spain has shown that Free Joseon has the
12   “aim of committing crimes,” has operated for an “indefinite

13   period,” or even that he is a member of it.         (ECF No. 175 at 34-

14   35.)   He points out that unlike the others involved in the

15   incident, he did not arrive in Spain until that morning and was

16   not part of the planning that took place beforehand, with the

17   purchase of various items that were apparently used at the

18   embassy.    (See id.)

19          As for this last argument, all that is required for

20   liability is that someone “cooperate with” the organization “in

21   any . . . manner.”      (ECF No. 226-3 at 90.)     Even if Ahn was not a

22   member of Free Joseon or whatever other organization entered the

23   embassy that day, he “cooperated with” it.

24          Ahn’s other arguments fare better, however.        Two possible

25   “organizations” were involved here: Free Joseon or the discrete

26   group of people who planned to and then entered the North Korean

27   embassy in Spain on February 22, 2019.        If the Court takes Ahn at

28   his word and attributes the day’s events to Free Joseon (see Tr.

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 1   at 128; see also ECF No. 175 at 36), then the government has not
 2   presented evidence that it is a “criminal” organization “with the
 3   aim of committing crimes.”      It has not pointed to any other
 4   crimes ever committed by Free Joseon or its predecessor
 5   organizations.    And its leader was a widely respected civil-
 6   rights activist and former TED fellow (see Tr. at 51-52, 54-55),
 7   hardly the profile of an inveterate criminal.         The government
 8   seems to think that the alleged commission of crimes on February
 9   22, 2019, alone satisfies the criminal-organization requirements
10   (see ECF No. 187 at 42), but a plain reading of the statute’s
11   language requires the group to have as an ongoing aim committing
12   crimes, which no evidence here shows.        The government’s reading

13   renders impermissibly superfluous the statute’s language

14   mandating that the “criminal” organization be stable in nature

15   and of indefinite duration.      See Conn. Nat’l Bank v. Germain, 503

16   U.S. 249, 253 (1992) (observing that “courts should disfavor

17   interpretations of statutes that render language superfluous”);

18   cf. In re Comm’r’s Subpoenas, 325 F.3d 1287, 1301 (11th Cir.

19   2003) (applying that rule of statutory construction to foreign-

20   treaty language), overruled on other grounds by Intel Corp. v.

21   Advanced Micro Devices, Inc., 542 U.S. 241 (2004).

22         On the other hand, if the “organization” at issue is simply

23   those who entered the embassy that day, then the government has

24   not shown that it is “stable in nature” and has “operated for an

25   indefinite period.”     Indeed, nothing demonstrates that that group

26   “operated” together before or beyond that finite period.

27         The government has not shown probable cause to believe that

28   Ahn committed the criminal-organization crime.

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 1                                      * * *
 2         For all these reasons, probable cause exists to extradite
 3   Ahn to Spain on the charges of breaking and entering, illegal
 4   restraint, causing injuries, and threats but not on robbery with
 5   violence or intimidation or criminal organization.
 6                            HUMANITARIAN EXCEPTION
 7         Under the “rule of noninquiry,” the Secretary of State, not
 8   the courts, generally determines whether the United States should
 9   refuse to extradite someone for humanitarian reasons.           Prasoprat,
10   421 F.3d at 1016.     The rule arises from the Secretary’s need to
11   consider any foreign-policy implications of refusing extradition,
12   something the Secretary is generally in a better position to know

13   than a court.16    See id.

14         Still, the Ninth Circuit has alluded to the theoretical

15   existence of a “humanitarian exception” that would allow a court

16   to refuse to certify extradition when extraordinary circumstances

17   made extradition unjust.      Id. (collecting cases).      Although

18   neither party has cited any instance of a court finding such an

19   exception warranted, see also id., that may be at least in part

20   because if an extradition court invoked the exception and refused

21   to extradite, the government would have no mechanism to bring the

22   case further scrutiny in a court of appeals, see Hooker v. Klein,

23   573 F.2d 1360, 1364 (9th Cir. 1978) (noting that when magistrate

24   judge denies extradition request, government’s only remedy is to

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           16
26           Some contend that the rule has its          origins in the ugly
     history of judges refusing to inquire into           how fugitive slaves
27   would be treated were they returned to              their owners.    See
     Christopher H. Pyle, Extradition, Politics,         and Human Rights 119
28   (2001).

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 1   start extradition process over again); United States v. Doherty,
 2   786 F.2d 491, 501 (2d Cir. 1986) (holding that when extradition
 3   court refuses to certify extradition, “sole recourse” for United
 4   States is to file another extradition request because direct
 5   appeal is not available), or because when courts have been
 6   alarmed for humanitarian reasons about extraditing someone, they
 7   have tended to find another reason to deny extradition rather
 8   than relying on those humanitarian concerns, see John T. Parry,
 9   Int’l Extradition, the Rule of Non-Inquiry, and the Problem of
10   Sovereignty, 90 B.U. L. Rev. 1973, 1990-91 (Oct. 2010).
11         But even if the exception exists, the Ninth Circuit has made
12   clear that a magistrate judge may not invoke it.          See Prasoprat,

13   421 F.3d at 1016 (“[T]he magistrate judge does not have any

14   discretion to exercise.”), 1017 (“[T]he magistrate judge did not

15   have the authority to refuse to issue a certificate of

16   extradition on humanitarian grounds.”).        “Once the magistrate

17   judge determines that the crime is extraditable and there is

18   probable cause to sustain the charge, ‘it is the Secretary of

19   State, representing the executive branch, who determines whether

20   to surrender the fugitive.’”       Id. (quoting Blaxland v.

21   Commonwealth Dir. of Pub. Prosecutions, 323 F.3d 1198, 1208 (9th

22   Cir. 2003)).

23         Because of this unequivocal language, the Court reluctantly

24   must reject Ahn’s argument that it can apply the humanitarian

25   exception.    He argues that none of the cases saying it can’t

26   concerned “a non-treaty partner intend[ing] to commit an

27   extrajudicial assassination of the Relator and that the

28   opportunity to assassinate him exponentially increases if he

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 1   leaves the United States, independent of the procedures and
 2   policies of the requesting nation.”        (Reply to Gov’t’s Resp. to
 3   Suppl. Exs. at 4-5, ECF No. 222 (emphasis in original).)           That’s
 4   all true, as is his focus on the rule of noninquiry generally
 5   prohibiting an extradition court from “examining the penal
 6   systems of requesting nations” and not some outside force.           (Id.
 7   at 5 (emphasis in original) (citing Lopez-Smith v. Hood, 121 F.3d
 8   1322, 1327 (9th Cir. 1997).)
 9         But courts have also applied the rule of noninquiry — and
10   refused to consider a humanitarian exception — when, as here, the
11   threat came from a source unrelated to the requesting country’s
12   government.    See, e.g., United States v. Lui Kin-Hong, 110 F.3d

13   103, 111 (1st Cir. 1997) (rejecting relator’s argument that

14   extradition to Hong Kong was impermissible because city was to

15   revert to China by time of any trial and thus fairness of

16   judicial process there could not be guaranteed); Sindona v.

17   Grant, 619 F.2d 167, 174-75 (2d Cir. 1980) (applying rule even

18   though fugitive presented evidence of assassination threats in

19   requesting nation from “political enemies on the left”);

20   Venckiene v. United States, 929 F.3d 843, 864-65 (7th Cir. 2019)

21   (rejecting claim that fugitive would be “subject to physical harm

22   from sources outside the [requesting] government” as basis for

23   denying extradition because “these are humanitarian arguments

24   that are in the purview of the Secretary of State in extradition

25   proceedings”); Perloff v. Hylton, 542 F.2d 1247, 1249 (4th Cir.

26   1976) (rejecting claim that extradition should be denied because

27   of “potential assassins in Swedish prisons”); Koskotas v. Roche,

28   740 F. Supp. 904, 909, 917 (D. Mass. 1990) (applying rule to

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 1   assassination threats in requesting nation from terrorists).
 2           Ahn argues that those cases are different because the threat
 3   here is “institutional,” from a “sovereign state that consciously
 4   chooses to use assassination, kidnapping, and terrorism as an
 5   instrument of policy.”      (Tr. at 142-43); see also 2014 U.N. Rep.
 6   ¶ 24 (finding that North Korea “systematic[ally]” commits “crimes
 7   against humanity based on State policies”).         But why should the
 8   source of the threat matter if the relator winds up dead just the
 9   same?    The truly significant difference here from those cases is
10   that the Court needn’t make any messy inquiry into just how real
11   the threat is: the FBI has conceded that North Korea wants to
12   kill Ahn and that that threat is easier to carry out in Spain

13   than here in the United States.       (See Rim Decl. ¶ 3, ECF Nos.

14   173-3 & 223 (unsealing Rim Decl.))        And our own State Department

15   (never mind Prof. Lee) has found that North Korea stops at no

16   border to avenge the Kim name.       See U.S. State Dep’t Bureau of

17   Democracy, Human Rights, and Labor, 2020 Country Reports on Human

18   Rights Practices: Democratic People’s Republic of Korea, Exec.

19   Summary (Mar. 30, 2021), https://www.state.gov/reports/

20   2020-country-reports-on-human-rights-practices/north-korea

21   (“Significant human rights issues included . . . politically

22   motivated reprisals against individuals located outside the

23   country.”).

24           Ahn does not really expand on his argument that the

25   “institutionality” of the threat somehow makes a difference.            But

26   if what he means is that as a state sponsor of terrorism, North

27   Korea has the resources and the resolve to kill him no matter

28   what measures Spain might take, and that therefore any assurances

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 1   from it that the State Department might extract concerning his
 2   safety aren’t worth a roll of pennies, with that the Court
 3   wholeheartedly agrees.      As North Korea’s assassinations and
 4   kidnappings on European and other nations’ (but not the United
 5   States’s) soil reveal (see ECF No. 175-3 at 77; Ahn’s Suppl. Ex.
 6   F at 49, ECF No. 203-1), it doesn’t care about angering those
 7   like Spain who partner with it in some way or another.           Moreover,
 8   for many reasons unrelated to North Korea, the U.N. Committee
 9   Against Torture has questioned the effectiveness of our State
10   Department’s reliance on diplomatic assurances from a requesting
11   nation to ensure an extraditee’s safety.        See U.N. Comm. Against
12   Torture, 36th Sess., Conclusions and Recommendations of the

13   Committee Against Torture, May 1-19, 2006, ¶ 21, U.N. Doc.

14   CAT/C/USA/CO/2 (May 18, 2006); see also Jane C. Kim, Note,

15   Nonrefoulement Under the Convention Against Torture: How U.S.

16   Allowances for Diplomatic Assurances Contravene Treaty

17   Obligations and Federal Law, 32 Brook. J. Int’l L. 1227, 1232

18   (2007) (arguing that “the use of non-reviewable and

19   insufficiently reliable diplomatic assurances, whether or not

20   given in good faith, effectively derogates” laws intended to

21   prevent human-rights abuses).

22         Some argue, with profound force, that courts have been

23   guilty of abdicating their responsibility to ensure the

24   fundamental fairness of extraditions, inappropriately ceding such

25   power almost entirely to the executive branch.         See generally,

26   e.g., Parry, supra; Matthew Murchison, Note, Extradition’s

27   Paradox: Duty, Discretion, and Rights in the World of Non-

28   Inquiry, 43 Stan. J. of Int’l L. 295, 296 (Summer 2007)

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 1   (describing rule of noninquiry as “glaring blind-spot for the
 2   judiciary”).
 3         The Court understands that in the usual case, “it is for the
 4   political branches, not the judiciary, to assess practices in
 5   foreign countries and to determine national policy in light of
 6   those assessments.”     Munaf v. Green, 553 U.S. 674, 700-01 (2008).
 7   But “[t]he Supreme Court has never used the term ‘rule of non-
 8   inquiry,’ let alone explicated its scope or proper application.”
 9   Trinidad y Garcia v. Thomas, 683 F.3d 952, 992 (9th Cir. 2012)
10   (en banc) (Berzon, J., concurring & dissenting).          And as many
11   have noted, the Secretary of State is not a neutral
12   decisionmaker.    See, e.g., id. (Berzon, J., concurring &

13   dissenting); Murchison, supra, at 313 n.129 (collecting such

14   observations).    Rather, according to these observers, “[t]he

15   State Department cannot be trusted to weigh the rights of

16   individuals against the government’s own international law

17   enforcement and foreign policy agenda.”        Murchison, supra, at 313

18   n.129; see also Meredith Angelson, Note, Beyond the Myth of “Good

19   Faith”: Torture Evidence in International Extradition Hearings,

20   41 N.Y.U. J. Int’l L. & Pol. 603, 629 (Spring 2009) (“[T]he

21   interests of the relator may easily be lost in the [State

22   Department’s] calculation of whether or not to deny

23   extradition.”).     Perhaps for this reason, “Munaf affirmatively

24   left open . . . the question of whether . . . in ‘a more extreme

25   case in which the Executive has determined that a detainee is

26   likely to be tortured but decides to transfer him anyway,’” a

27   court might have authority to intervene.        Trinidad, 683 F.3d at

28   991 (Berzon, J., concurring & dissenting) (quoting Munaf, 553

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 1   U.S. at 702).    Here, of course, “the Executive,” in the form of
 2   the FBI, admits that North Korea wants to kill Ahn and has
 3   advised that the safest place for him is here, in the United
 4   States.17   (See ECF No. 173-3 at 2.)
 5         None of this changes the categorical language of the cases
 6   the Court is bound to follow.       The stakes here are high on both
 7   sides, and given the Ninth Circuit’s no-exceptions, couldn’t-be-
 8   clearer language barring a magistrate judge from invoking a
 9   humanitarian exception and the government’s inability to appeal
10   any refusal to extradite, my hands are tied.18
11         Based on what I know,19 I believe that extraditing Ahn to
12
           17
13          The government has suggested in passing that the fact that
     Ahn is still alive means that the threat to his life is not
14   substantial.    But his continuing to breathe may be precisely
     because he has remained in the United States, where North Koreans
15   generally cannot venture.        Moreover, North Korea may be
     incentivized not to harm Ahn for as long as Hong Chang, the
16   ringleader of the group and presumably the primary target of North
17   Korea’s ire, remains at large, for surely the United States (or any
     other country) would not extradite Hong if Ahn were killed by North
18   Korea before Hong was captured and extradited. Thus, as far as Ahn
     is concerned, North Korea may simply be biding its time.
19
           18
            Under the rule of noninquiry, “Courts faced with potentially
20   disturbing claims can compile reassuring string cites of cases in
21   which their predecessors refused . . . to inquire into possible
     violations of human rights.” Parry, supra, at 1995-96 (advocating
22   for “rule of limited inquiry” to replace rule of noninquiry).
     Although that long list of cases — many of them trotted out in the
23   government’s briefing — constrains me to certify extradition, I am
     not reassured.
24
           19
             I recognize that the government may have information
25
     concerning Ahn that it doesn’t wish to share with him or even the
26   Court. For instance, some of the newspaper accounts cited to the
     Court quoted sources saying that he was or has been a CIA agent
27   (although the Court does not see how, if true, that would weigh in
     favor of extraditing him).        See, e.g., John Hudson, U.S.
28   Authorities Make First Arrest in Mysterious Raid of North

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 1   Spain would be “antipathetic” to our common “sense of decency,”
 2   the standard first set out for a humanitarian exception to
 3   extradition.    See Gallina v. Fraser, 278 F.2d 77, 79 (2d Cir.
 4   1960); see also 2014 U.N. Rep. ¶ 86 (concluding that North
 5   Korea’s “crimes” “shock the conscience of humanity”).           I lay out
 6   here the reasons why I wish I could invoke a humanitarian
 7   exception to keep Ahn in the United States, and I humbly ask the
 8   Ninth Circuit to clarify that it didn’t mean to rule the
 9   exception out categorically.20      There would be no shame in that.
10   Certainly no one could have ever imagined a case like this one,
11   and the humanitarian exception deserves to be considered anew in
12   its context.    See Emami v. U.S. Dist. Ct., 834 F.2d 1444, 1453

13   (9th Cir. 1987) (noting that Ninth Circuit has “left open the

14   possibility that . . .      considerations . . . might someday cause

15   [it] to develop a humanitarian exception in a case where the

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17
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19   Korea’s Embassy in Spain, Wash. Post (Apr. 19, 2019),
     https://www.washingtonpost.com/world/national-security/
20   us-authorities-make-first-arrest-in-mysterious-raid-of-north-
21   koreas-embassy-in-spain/2019/04/19/bfee15e2-d984-4600-9b63-
     14270f9b0bb3_story.html. The Court can rule based only on what it
22   knows.
           20
23           Of course, the district judge might grant any habeas
     petition Ahn files, perhaps preventing the issue from reaching a
24   higher court. Indeed, although Ninth Circuit law seems clear that
     a magistrate judge may not invoke the humanitarian exception, a
25
     district judge may not be so constrained. See Trinidad, 683 F.3d
26   at 995 (Berzon, J., concurring and dissenting) (noting that
     judicial   habeas    review   of   extradition    orders   prevents
27   “inappropriate concentration of power within a single branch,”
     “ensuring that the executive’s discretion to extradite is exercised
28   within the parameters of the law”); see also id. at 996.

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 1   facts warranted it”).21
 2         1.   Ahn’s Life Will Be in Danger in Spain
 3         Early on in this case, the FBI confirmed that North Korea
 4   has called for Ahn’s execution.       The government has never
 5   disputed this.    Indeed, given the expert testimony from Prof. Lee
 6   and what we know of North Korea’s past behavior, the existence of
 7   a hit is hardly surprising.      North Korea tortures and kills those
 8   who cross it; it is a state sponsor of terrorism.          Defection is
 9   punishable by death, and apparently assisting it is too.           See
10   § 7801(5); see also Han Kim, 774 F.3d at 1046 (describing
11   regime’s abduction from China, torture, and murder of reverend
12   who helped North Korean defectors and refugees).          And North

13   Korea’s torture and killing of Otto Warmbier for taking a poster

14   of the supreme leader off the wall of his hotel certainly doesn’t

15   bode well for Ahn and his cohorts, who reportedly filmed

16   themselves removing framed photos of the Kim family from the wall

17   of the embassy and smashing them to the ground, releasing that

18   footage on the internet for the world to see.22         (See ECF No.

19
20         21
            Some of the “facts” relied on in this section come from
21   media reports cited to the Court by Ahn and his counsel.       The
     government has never contested the accuracy of Petitioner’s cited
22   reports, and because this entire section is dictum in any event, I
     accept the contents of those reports and rely on a few outside
23   sources of my own.
24         22
            Except, of course, for those doomed to live in North Korea,
     where access to the worldwide web is “notoriously restrict[ed],”
25
     Saira Asher, What the North Korean Internet Really Looks
26   Like, BBC News (Sept. 21, 2016), https://www.bbc.com/news/
     world-asia-37426725, and not available to ordinary citizens, see
27   U.S. State Dep’t, supra, § 2.A (reporting that internet access in
     2020 was “limited to high-ranking officials and other designated
28   elites” and was “constantly monitored”).

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 1   203-1 at 31 (still of photos being removed from wall); ECF No.
 2   226-3 at 19-20 (statement of Acting Ambassador So); ECF No. 197-1
 3   at 8-9 (Prof. Lee stating that smashing of photos at embassy
 4   means North Korea “will go to the ends of the earth to take down
 5   Mr. Ahn and the other alleged participants”).)
 6         Ahn faces retribution from North Korea not just for his
 7   actions here but also because it has become known that he was
 8   involved in helping Kim Han-Sol, Kim Jong-Un’s nephew,
 9   “disappear” after his father, whom many considered to be the
10   rightful heir to the North Korean throne, was assassinated by
11   North Korea and the nephew’s life appeared also to be in danger.
12   (See ECF Nos. 197-1 at 10 & 175 at 40 (citing Lee Min-hyung, Kim

13   Han-Sol Escaped with Help of Anti-North Korea Group, The Korea

14   Times (last updated May 29, 2019), https://www.koreatimes.co.kr/

15   www/nation/2019/05/356_269710.html); Tr. at 145, 147-48.)

16         While the government does not contest that North Korea seeks

17   to assassinate Ahn — indeed, the FBI first brought the threat to

18   his attention — it downplays the risk, arguing that Spain should

19   be able to protect him.      But even if Spain could somehow protect

20   Ahn if and while he was in custody there — unlikely, given North

21   Korea’s ruthless resolve to kill its enemies and its ties to a

22   Spanish citizen apparently engaged in criminal activities on its

23   behalf (see ECF No. 197-1 at 6-7; see also id. at 6 (Prof. Lee

24   noting that North Korea “routinely conspire[s] with criminal

25   networks in Europe”)) — he presented evidence that he would

26   likely be granted bail in that country while awaiting any trial.

27   (Tr. at 139; Ahn’s Appl. Recons. at 20, ECF No. 33 at 20; ECF No.

28   33-1 at 97-113.)     Stripped of any protection possible in jail –

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 1   solitary confinement or the like — Ahn would become even more
 2   vulnerable.       (Tr. at 141.)   Uncontested evidence shows that North
 3   Korea has abducted its enemies from numerous European countries,
 4   including the Netherlands, Austria, and Italy, and it has killed
 5   on foreign soil, including Kim Jung-Un’s half-brother, in a
 6   Malaysian airport.       (ECF No. 197-1 at 4-6.)    In one instance of
 7   apparent retribution shortly before the embassy incident here,
 8   North Korea apparently kidnapped from Italy the 17-year-old
 9   daughter of an official who defected from the embassy there,
10   repatriating her to North Korea, where she has not been heard
11   from since.23       (ECF No. 175 at 17; ECF No. 222 at 3-4 (citing
12   newspaper accounts).)

13           And of course, because Spain has diplomatic relations with

14   North Korea and the United States does not, Ahn is much safer

15   here.        With very few exceptions North Koreans are not allowed

16   into this country (see ECF No. 197-1 at 6 (noting that North

17   Koreans admitted into United States to participate in United

18   Nations must stay within 25 miles of diplomatic mission in

19
20           23
             Perhaps Ahn assisted in this defection as well, another
     reason for North Korea to go after him. (See ECF No. 226-3 at 83
21
     (Spanish prosecutorial report noting that Ahn was in Italy in late
22   October 2018, along with Hong Chang and another participant in the
     Spanish-embassy incident)); Choe Sang-Hun, North Korean Diplomat,
23   Missing Since 2018, Is in Seoul, Lawmaker Says, N.Y Times
     (Nov. 27, 2020), https://www.nytimes.com/2020/10/06/world/asia/
24   defector-north-korea.html (noting that Italian defection took place
     in Nov. 2018); William Cole, Daughter of North Korea’s Ambassador
25
     to Italy Has Been ‘Kidnapped by Kim Jong-Un’s Agents’ and Taken
26   Back to Pyongyang After Her Parents Disappeared in Alleged
     Defection,        DailyMail.com         (Feb.      21,     2019),
27   https://www.dailymail.co.uk/news/article-6728541/
     North-Korean-ambassadors-daughter-kidnapped-Kim-Jong-Uns-agents-
28   parents-defect.html (same).

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 1   midtown Manhattan)), whereas Spain apparently allows entry to
 2   “students” and others from that country, who have much greater
 3   freedom of movement (id. at 6, 12-13; see also ECF No. 226-3 at
 4   10).   Ahn presented uncontested evidence that the FBI advised his
 5   counsel that he “should not leave the United States as a matter
 6   of safety.”    (ECF No. 173-3 at 2; see Tr. at 136.)
 7          The government’s assurances are even less convincing
 8   considering the evidence presented at the hearing.          Cindy
 9   Warmbier explained how she and her husband were repeatedly told
10   by the State Department that their son would be “okay,” only to
11   have him finally returned in a vegetative state, to die soon
12   after.   (Tr. at 155-56.)     Yes, this and the other examples of

13   North Korea’s insatiable vengeance are anecdotal, but because of

14   our nonexistent relations with North Korea — again, a nation we

15   have declared a state sponsor of terrorism — the limited

16   anecdotal information available carries outsized weight.            See Han

17   Kim, 774 F.3d at 1045 (“[T]hrough terror and intimidation [North

18   Korea] prevents any information about [its] crimes from escaping

19   to the outside world.”).      However sincere Spain’s intentions and

20   secure its prisons, Ahn faces a serious risk of being

21   assassinated there.     In Prof. Lee’s words, “[T]here should be no

22   doubt that Christopher Ahn is at risk of being killed if he is

23   extradited outside the United States” because North Korea “is in

24   fact a model terrorist state whose murderous reach is global,

25   whose resources for carrying out acts of international terrorism

26   are vast, and whose will to assassinate high-value targets is

27   indefatigable.”     (ECF No. 197-1 at 3-4 (emphasis omitted).)

28          Ahn surely does not deserve to die for the offenses with

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 1   which he is charged.     And there’s no reason for him to.        The
 2   treaty between Spain and the United States can just as well be
 3   honored here, for it explicitly provides that the State
 4   Department can refuse to extradite a U.S. national and instead
 5   try him here.    (Revised Req., Ex. A, Annex to Extradition Treaty,
 6   art. IV, ECF No. 226-1.)24     Of course, as explained below, this
 7   whole extradition is likely an exercise in futility and no trial
 8   will take place anywhere, including in Spain, another reason why
 9   the humanitarian exception should be available.
10         2.   Spain Likely Can’t Try Ahn
11         Spain certainly has an important interest in telegraphing to
12   its diplomatic partners that it will take whatever steps

13   necessary to ensure their safety and security when in the

14   country.   See Finzer v. Berry, 798 F.2d 1450, 1455 (D.C. Cir.

15   1986) (noting that “host states have a special responsibility to

16   ensure that foreign embassies and the personnel inside them are

17   free from threats of violence and intimidation”).          But at the

18   hearing, Prof. Lee testified that North Korea was extremely

19   unlikely to make its witnesses available to testify in any trial,

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           24
            Indeed, if the Court believed it had any authority to apply
21
     the humanitarian exception, it would not be inclined to impose it
22   outright but rather to order that if the United States did not
     invoke article IV of the treaty within a certain number of days,
23   the Court would then refuse to extradite him on humanitarian
     grounds.    But even if a magistrate judge could apply the
24   humanitarian exception, it seems only the State Department, not a
     judge, may attach conditions to an extradition order. See Emami,
25
     834 F.2d at 1453. Unfortunately, “[v]esting the sole power to make
26   demands for assurances in the executive branch does not effectively
     protect an individual’s rights because the executive may be
27   preoccupied with political, military, or foreign policy concerns.”
     Andrew J. Parmenter, Comment, Death by Non-Inquiry, 45 Washburn
28   L.J. 657, 679-80 (Spring 2006).

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 1   much less allow them to be cross-examined.         (Tr. at 59.)    To his
 2   knowledge, the statements the North Koreans gave to the Spanish
 3   authorities marked the first time the country had ever
 4   participated in any judicial proceeding in any other country.
 5   (Id. at 58-59 (surmising that embassy officials did so because
 6   they needed cover story to explain their actions)); see also
 7   Warmbier, 356 F. Supp. 3d at 41 (noting that default was taken
 8   against North Korea after it failed to appear); Han Kim, 774 F.3d
 9   at 1045, 1048 (noting that North Korea “refused to appear in
10   court and subject itself to discovery” in civil suit filed by
11   family members of regime opponent who was abducted, tortured, and
12   killed by North Korea).      All of the North Koreans but the Acting

13   Ambassador have apparently been called back to North Korea and

14   are not available to accept any kind of process.          (Tr. at 59.)

15         Spain apparently requires in criminal trials that “the

16   evidence will be heard first-hand through the testimony of

17   witnesses, rather than through the reading of documents.”

18   Stephan C. Thaman, Europe’s New Jury Systems: The Case of Spain

19   and Russia, 62 Law & Contemp. Probs. 233, 241 n.43 (Spring 1999);

20   see also U.S. State Dep’t Bureau of Democracy, Human Rights, and

21   Labor, 2020 Country Reports on Human Rights Practices: Spain,

22   § 1.E (noting that in Spain, defendants “may confront prosecution

23   . . . witnesses”); Spanish Const. Dec. 29, 1978, § 120

24   (“Proceedings shall be predominantly oral, especially in criminal

25   cases”).   Pretrial statements are generally not admissible if the

26   witness was not subjected to adversarial cross-examination when

27   they were made.     See Dennis P. Riordan, The Rights to a Fair

28   Trial and to Examine Witnesses Under the Spanish Constitution and

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 1   the European Convention on Human Rights, 26 Hastings Const. L.Q.
 2   373, 391, 402-03 (Winter 1999).
 3         Because the United States has signed an extradition treaty
 4   with Spain, it’s not the Court’s role to inquire whether its
 5   legal system is fair.     See Glucksman v. Henkel, 221 U.S. 508, 512
 6   (1911) (“We are bound by the existence of an extradition treaty
 7   to assume that the trial will be fair.”).         But that’s not what
 8   it’s doing.    It’s pointing out that Spain likely won’t be able to
 9   adhere to its own procedures for trying criminal defendants
10   because the North Koreans are virtually certain not to
11   participate in any trial.      While the Court has found the
12   remaining evidence sufficient to support the very low probable-

13   cause standard, it’s probably not enough to sustain an actual

14   criminal conviction in any country with which we have an

15   extradition treaty, particularly in light of Ahn’s likely

16   uncontested explanation for the events of that day.

17         Because shipping Ahn off to Spain, where his life will be in

18   grave danger from a force our government recognizes as evil, to

19   await a trial that will likely never happen is inhumane and may

20   well violate due process, see Martin v. Warden, 993 F.2d 824, 829

21   (11th Cir. 1993) (recognizing that “constitutional rights of

22   individuals, including the right to due process, are superior to

23   the government’s treaty obligations”), I — or some judge or

24   judges — should be able to stop it.

25         3.   The State Department Has Already Rebuffed

26              Entreaties Not to Turn Ahn over to Spain

27         In the usual case, a court considers the probable-cause

28   question first, and then the State Department reviews the matter

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 1   to make certain extradition is appropriate.         See, e.g., Meza v.
 2   U.S. Att’y Gen., 693 F.3d 1350, 1357 (11th Cir. 2012) (“[T]he
 3   Secretary decides, at least in the first instance, whether to
 4   refuse extradition on humanitarian grounds after she receives the
 5   certification of extradition from the magistrate judge.”); (see
 6   also Tr. at 150).     Thus, it might make sense in those instances
 7   that an extradition court needn’t stumble over any humanitarian
 8   concerns because they would be considered by the executive
 9   branch.   But here we already know that the State Department, for
10   whatever reason, is unlikely not to turn Ahn over to Spain.
11   Ahn’s counsel represented at the hearing that she had met
12   repeatedly with State Department officials to try to work out

13   some sort of deal to stop Ahn’s extradition, to no avail.           (Tr.

14   at 150-51.)    And under questioning from the Court at the hearing,

15   the government acknowledged that there would be “ramifications”

16   were certification denied.      (Id. at 167; see also ECF No. 214 at

17   7 (government arguing that “[a]ny judgment that Spain is

18   incapable of protecting Ahn’s safety could have significant

19   diplomatic repercussions”).)

20         North Korea has made clear it’s watching what happens here:

21   it has asked that the “terrorists and their wire-pullers” be

22   brought to justice and is “wait[ing] for the result in patience.”

23   (ECF No. 197-1 at 10); Agence France Press, ‘Grave Terrorist

24   Attack’: North Korea Condemns Raid on Its Madrid Embassy, The

25   Guardian (Mar. 31, 2019), https://www.theguardian.com/world/2019/

26   mar/31/grave-terrorist-attack-north-korea-condemns-raid-on-its-

27   madrid-embassy.     The executive branch may have foreign-policy-

28   related incentives not to unnecessarily displease the regime.

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 1   See, e.g., Jon Herskovitz & Jeong-Ho Lee, Biden Nuclear Envoy
 2   Ready for Talks ‘Anytime’ With North Korea, Bloomberg (June 20,
 3   2021), https://www.bloomberg.com/news/articles/2021-06-21/
 4   biden-s-nuclear-envoy-seeks-help-on-north-korea-with-allies.              But
 5   if Ahn’s extradition rests on a political agenda, isn’t it
 6   precisely the role of the courts to step in to prevent any human-
 7   rights abuse?      Indeed,
 8         it   is    important   to   emphasize   that   a   habeas   court
 9         reviewing [torture claims] would not be called upon to
10         consider whether extradition would further our foreign
11         policy interests or, if so, how much to weigh those
12         interests.      Rather, it would be required to answer only

13         the straightforward question of whether a fugitive would

14         likely face torture in the requesting country.

15   Mironescu v. Costner, 480 F.3d 664, 672 (4th Cir. 2007)

16   (rejecting notion that rule of noninquiry is inviolate but

17   recognizing that Ninth Circuit is among circuits holding to the

18   contrary); see United States v. Fernandez-Morris, 99 F. Supp. 2d

19   1358, 1371-72 (S.D. Fla. 1999) (finding that “rule of non-inquiry

20   . . . is not inviolate” and describing Bolivian extradition

21   request as “shocking” but refusing to extradite on other

22   grounds).       And as one commentator put it, “[t]he idea . . . that

23   the judiciary may lack the institutional competence to adjudicate

24   the prospective treatment of the relator upon transfer, defies

25   logic, as the same federal courts carry out this very inquiry on

26   a regular basis.”      M. Cherif Bassiouni, International Extradition

27   661 (6th ed. 2014) (citing Parry, supra, at 2004-06).

28         Bassiouni refers, of course, to immigration cases, in which

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 1   federal courts routinely delve into delicate issues concerning
 2   “evidence of gross, flagrant or mass violations of human rights
 3   within the country of removal” from “the government or forces
 4   that the government is unwilling or unable to control.”           Ahmed v.
 5   Keisler, 504 F.3d 1183, 1191 (9th Cir. 2007); 8 C.F.R.
 6   § 208.16(c)(3)(iii) (standards for eligibility for withholding of
 7   removal under Convention Against Torture).         We don’t cede all
 8   authority to another branch of government in such circumstances,
 9   and we shouldn’t do so here.       Cf. Boumediene v. Bush, 553 U.S.
10   723, 797 (2008) (“Within the Constitution’s separation-of-powers
11   structure, few exercises of judicial power are as legitimate or
12   as necessary as the responsibility to hear challenges to the

13   authority of the Executive to imprison a person.”); Valley Forge

14   Christian Coll. v. Ams. United for Separation of Church & State,

15   454 U.S. 464, 474 (1982) (noting that separation of powers does

16   not require that “Judicial Branch shrink from a confrontation

17   with the other two coequal branches of the Federal Government”).

18   Indeed, in many extradition cases, unlike in immigration ones,

19   and as is true here, the life and liberty of a U.S. citizen are

20   at stake.

21         Even in the extradition context, a court can inquire into

22   whether a treaty partner used torture or other coercion to secure

23   confessions or other evidence supporting probable cause,

24   regardless of whether such findings might harm political

25   relations, see Santos, 830 F.3d at 1007 & n.9; similarly,

26   extradition courts routinely consider sensitive questions

27   concerning violent political uprisings in treaty partners in

28   determining whether to apply the political-offense exception to

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 1   extradition.25   Why then can’t judges assess evidence of human-
 2   rights abuses bearing on the fundamental fairness of extradition
 3   proceedings even if doing so might rankle our treaty partners or
 4   foil a foreign-policy initiative?         It happens all the time in
 5   foreign courts, see, e.g., Parry, supra, at 2009 (“[S]everal
 6   countries, including Canada, Germany, Ireland, the Netherlands,
 7   and the United Kingdom, allow [judicial] inquiry in certain
 8   circumstances, such as when the extraditee’s human rights are at
 9   risk.”), and those countries have not become international
10   pariahs, see Caroline Stover, Note, Torture and Extradition:
11   Using Trinidad y Garcia to Develop a New Role for Courts, 45
12   Colum. Hum. Rts. L. Rev. 325, 351 (Fall 2013) (“[T]he argument

13   for diplomatic flexibility is significantly undermined by the

14   fact that other countries (with just as strong an interest in

15   diplomacy) place the Torture Determination with the courts.”).

16         The government cites a Second Circuit case for the

17   proposition that “the Secretary never has directed extradition in

18   the face of proof that the extraditee would be subjected to

19   procedures or punishment antipathetic to a federal court’s sense

20   of decency” and that “it is difficult to conceive” of it doing

21   so.   (ECF No. 214 at 5 n.3 (citing Ahmad, 910 F.2d at 1067).)

22   Tell that to Kulver Singh Barapind.        He argued that the court

23   should refuse to extradite him on humanitarian grounds because he

24   would be tortured on his return to India.         See In re Extradition

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26         25
            A court may refuse to extradite under the political-offense
27   exception only when, among other things, there is self-directed
     political unrest in the requesting nation, see Vo, 447 F.3d at
28   1241, a circumstance not present here.

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 1   of Singh, 170 F. Supp. 2d 982, 1038-39 (E.D. Cal. 2001).           The
 2   State Department nonetheless delivered him to that country, where
 3   security forces apparently “applied electric shocks to his ears”
 4   and “beat him,” India: Punjab Case Shows Need for Anti-Torture
 5   Law, Human Rights Watch (Sept. 27, 2012), https://www.hrw.org/
 6   news/2012/09/27/india-punjab-case-shows-need-anti-torture-law,
 7   allegedly for five days, see Kenneth Ofgang, Court Says India
 8   Immune From Torture Suit by Sikh, Metropolitan News-Enterprise
 9   (Dec. 22, 2016), http://www.metnews.com/articles/2016/
10   bara122216.htm; see also Bassiouni, supra, at 943 (noting that
11   relator in Sindona, 619 F.2d at 174-75, was murdered in his cell
12   after State Department extradited him to Italy, just as he had

13   predicted would happen when he argued for humanitarian

14   exception).

15         As Ahn has repeatedly pointed out, this case is like no

16   other.     It can’t be right or fair that in the extraordinary

17   circumstances presented here, a judge has no discretion not to

18   send a U.S. citizen off to his likely assassination by a state

19   sponsor of terrorism.     See Munaf, 553 U.S. at 702 (entertaining

20   possibility that in “extreme case” when Executive branch finds

21   that “detainee is likely to be tortured but decides to transfer

22   him anyway,” court could intervene); Gallina, 278 F.2d at 79

23   (noting that humanitarian exception may exist when extradition

24   would be “antipathetic to a federal court’s sense of decency”);

25   Mainero v. Gregg, 164 F.3d 1199, 1210 (9th Cir. 1999) (citing

26   Gallina for same proposition).

27         4.     Christopher Ahn Is by All Accounts a Good Person

28         I don’t know Christopher Ahn.       But those who do consider him

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 1   to be an exceptional person of virtuous character.          (See ECF No.
 2   33-1 at 10-50.)     At the time of the embassy raid he was in his
 3   late 30s and had no criminal record.        (See ECF No. 33-1 at 18,
 4   37.)    He served his country honorably in the Marines for six
 5   years.      (See ECF No. 203-1 at 34.)     A Medal of Honor winner who
 6   knows him calls him a “faithful and dutiful Marine” whose “life
 7   is predicated on honor and duty.”         (Id. at 35.)    He has
 8   volunteered for many charitable organizations.           (See, e.g., ECF
 9   No. 33-1 at 28, 33-36, 45, 50.)       Even the crimes with which Spain
10   has charged him were almost certainly motivated by altruism — a
11   desire to help the oppressed, brutalized, starved people of North
12   Korea, who can’t help themselves26 — rather than greed or lust or

13   power or addiction, the typical motivators of the criminal mind.

14   (See ECF No. 203-1 at 36 (Marine Corps colonel stating that Ahn’s

15   “consistent dedication to working against human suffering,

16   injustice, and oppression speaks volumes to the values he holds

17   in his heart”).)

18          Ahn’s strength of character is further shown by his conduct

19   while on release awaiting this decision.        Despite the onerous

20   provisions this Court placed not only on him but on those it

21   appointed as third-party custodians (among the many more who

22   volunteered), he has not, to the Court’s knowledge, violated even

23   the most insignificant condition of his release, not even once.

24   (Tr. at 177.)     Of course, to some degree that’s to be expected

25   from someone released on bond (although perhaps not always

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            26
27           See generally 2014 U.N. Rep. ¶¶ 46-55 (noting that North
     Korea has “used food as a means of control over the population” and
28   that “hunger and malnutrition continue to be widespread”).

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 1   anticipated, at least not in this Court’s experience).           But the
 2   circumstances of how and why Ahn even came to be in custody speak
 3   to his character.     The other known participants in the embassy
 4   breach apparently remain fugitives.        But Ahn returned to his home
 5   in Southern California, refusing to run from the authorities or
 6   indeed from North Korea after the FBI informed him, before he had
 7   been arrested on the Spanish charges, that North Korea had placed
 8   a hit on him.    (See generally ECF No. 33 at 21-23 & cited Exs.)
 9   He would not leave the home where he helped care for his nearly
10   blind grandmother and ill mother.         (See id.)
11         I’m not naive, and I know there may be more to Christopher
12   Ahn than meets the eye.      But no one disputes that he has devoted

13   a good portion of his life to helping others, including in our

14   U.S. military.    As noted, some have speculated that the CIA was

15   behind the embassy raid.      One can imagine many reasons why, if

16   that were true, the United States would not admit it.           But even

17   assuming Ahn was acting at the direction of his country and not

18   simply to help those trapped in an evil empire, that’s only but

19   another reason why that same country shouldn’t shove him into Kim

20   Jung-Un’s grasping arms.

21         Yes, Ahn should have to face a court reckoning of some kind

22   for possibly violating at least the letter of the law.           But he

23   should not be cast off to face an uncertain fate at the hands of

24   a despot, perhaps sacrificed to advance a foreign-policy agenda.

25   If I thought I could, I would require any trial of Ahn to be here

26   in the United States, and I hope that a judge or judges tasked

27   with fixing law instead of simply following it will do just that.

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 1                                    FINDINGS
 2         1.   The undersigned judicial officer is authorized under 18
 3   U.S.C. § 3184 and General Order 05-07 to conduct an extradition
 4   hearing.
 5         2.   The undersigned judicial officer and the U.S. District
 6   Court for the Central District of California have personal
 7   jurisdiction over Ahn and subject-matter jurisdiction over the
 8   case, as Ahn was arrested in this district.         See § 3184.
 9         3.   An extradition treaty between the United States and
10   the Kingdom of Spain is currently in force.         (See ECF No. 226-1
11   at 2 (Heinemann Decl. ¶ 2 (recounting history of treaty)).)
12         4.   Ahn is the subject of an April 12, 2019 arrest warrant

13   issued by the U.S. District Court for the Central District of

14   California at Spain’s request based on its own arrest warrant.

15         5.   The charges on which Ahn is wanted and as to which

16   extradition is sought constitute extraditable offenses under the

17   treaty.

18         6.   Even without considering the evidence the Court has

19   found not to be competent, probable cause exists to believe that

20   Ahn committed the crimes of breaking and entering, illegal

21   restraint, causing injuries, and threats under Spanish law but

22   not robbery with violence or intimidation or criminal

23   organization.    Based on the foregoing findings, the Court

24   concludes that Ahn is extraditable on those four charges only;

25   the Court hereby certifies this finding to the Secretary of State

26   as required under § 3184.

27         IT IS THEREFORE ORDERED that the Clerk of the Court deliver

28   to the Assistant U.S. Attorney a certified copy of this Reluctant

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 1   Certification of Extraditability and forward without delay
 2   certified copies of the same to the Secretary of State (to the
 3   attention of the Office of the Legal Adviser) and the Director,
 4   Office of International Affairs, Criminal Division, U.S.
 5   Department of Justice, in Washington, D.C., for appropriate
 6   disposition.
 7         IT IS FURTHER ORDERED that Ahn be committed to the custody
 8   of the U.S. Marshal for the Central District of California
 9   pending final disposition of this matter by the Secretary of
10   State and arrival of agents of the requesting state unless within
11   30 days of the date of this Order he files a Petition for Writ of
12   Habeas Corpus challenging the Court’s certification of

13   extradition.    If he does not do so, he must surrender to the U.S.

14   Marshal no later than noon on the 30th day after the date of this

15   Order.   If he does file a habeas petition within the 30 days, he

16   will remain free on bond under the same terms and conditions as

17   previously imposed unless the Court orders otherwise.           See

18   Salerno v. United States, 878 F.2d 317, 317 (9th Cir. 1989)

19   (applying special-circumstances bail test when fugitive appealed

20   denial of habeas petition certifying extradition).

21         Should this Order not be challenged through a habeas

22   petition or should the District Judge deny any such petition,

23   Ahn, together with any evidence seized incidental to his arrest,

24   must be transferred to the custody of agents of the requesting

25   state at such time and place as mutually agreed on by the U.S.

26   Marshal and the authorized representatives of the Kingdom of

27   Spain, to be transported to Spain, unless the Ninth Circuit

28   intervenes.

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 1                                   CONCLUSION
 2         Because I believe that Prasoprat and the other law by which
 3   I am bound does not foreclose a higher court, as opposed to a
 4   magistrate judge, from applying the humanitarian exception, I
 5   hold out some hope that this court will not become an
 6   “accomplice” to Ahn’s otherwise inevitable extradition.           See From
 7   Thomas Jefferson to Edmond Charles Genet, 12 September 1793,
 8   Founders Online, Nat’l Archives, https://founders.archives.gov/
 9   documents/Jefferson/01-27-02-0098 (Jefferson observing that to
10   deliver fugitives to countries where they would be mistreated was
11   to become “accomplice” to that mistreatment).         Cindy Warmbier
12   said that Ahn needed a “strong woman” to “stand up to North

13   Korea.”   (Tr. at 155.)     I regret that I am too weak, in power if

14   not in will, to save him from the threat of torture and

15   assassination by that outcast nation.

16         IT IS SO FOUND AND ORDERED this 9th day of May, 2022.

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                                  JEAN P. ROSENBLUTH
19                                U.S. Magistrate Judge

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